       Case 1:18-cv-02985-RDM Document 28-1 Filed 05/26/20 Page 1 of 3

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                            FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-5283                                                September Term, 2019
                                                                     1 : 18-cv-02985-RDM
                                                      Filed On: April 2, 2020
Monal Patel,
               Appellant

      V.

Ambit Group,et al.,
            Appellees

      BEFORE:        Rogers,Tatel,and Millett,Circuit Judges

                                        ORDER

       Upon consideration of the motion to appoint counsel; the motion for summary
affirmance,the opposition thereto,the supplements to the opposition,and the reply;
and the corrected motion to dismiss,which the court construes as a motion for
summary affirmance,the opposition thereto,the supplements to the opposition,and the
reply,it is

        ORDERED that the motion to appoint counsel be denied. In civil cases,
appellants are not entitled to appointment of counsel when they have not demonstrated
sufficient likelihood of success on the merits. It is

       FURTHER ORDERED that the motions for summary affirmance be granted. The
merits of the parties' positions are so clear as to warrant summary action. See
Taxpayers Watchdog, Inc. v. Stanley,819 F.2d 294,297 (D.C. Cir. 1987) (per curiam).

        The district court properly dismissed appellant's claims against the Ambit Group.
As an initial matter,appellant does not challenge the district court's application of
District of Columbia law to his breach of contract claim. See Perry Capital LLC v.
Mnuchin,864 F.3d 591,626 n.24 (D.C. Cir. 2017). Appellant also does not dispute that
the employment he was offered was presumptively "at will" under District of Columbia
law,or that such offers may be retracted at any time and for any reason. See
Liberatore v. Melville Corp.,168 F.3d 1326,1329 (D.C. Cir. 1999). Appellant,however,
failed to allege sufficient facts to overcome this presumption of at-will employment. See
Nickens v. Labor Agency of Metropolitan Washington,600 A.2d 813,816 (D.C. 1991).
Appellant alleged that the Ambit Group's employment offer gave rise to an "implied
contract" based on his performance of certain "onboarding" activities,and that the
Ambit Group then breached that implied contract by retracting the job offer. But
appellant has failed to address language in the offer letter expressly disclaiming the
       Case 1:18-cv-02985-RDM Document 28-1 Filed 05/26/20 Page 2 of 3



                 �nit£h �tat£s Qiourt of J\pp£als
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT


No. 19-5283                                                 September Term, 2019

existence of any implied contract, as well as the unequivocal language stating that the
offer was for at-will employment only. Cf. Boulton v. Inst. of lnt'I Educ., 808 A.2d 499,
504-05 (D.C. 2002) (employer's express disclaimer in employee handbook precluded
an implied contract). Accordingly, there was no basis for a breach of contract claim
against the Ambit Group. Relatedly, appellant failed to state a claim under District of
Columbia law that the Ambit Group breached a covenant of good faith and fair dealing.
See Paul v. Howard Univ., 754 A.2d 297, 310 n.28 (D.C. 2000). And because
appellant's "wrongful termination" claim was based on the alleged breach of the
covenant of good faith and fair dealing, that claim necessarily failed as well. To the
extent appellant's complaint also alleged that the Ambit Group violated the
Administrative Procedure Act, he does not address that claim on appeal. See U.S. ex
rel. Totten v. Bombardier Corp., 380 F.3d 488, 497 (D.C. Cir. 2004) ("Ordinarily,
arguments that parties do not make on appeal are deemed to have been waived.").

        Next, appellant argues that he amended his complaint to add claims based on
fraud and disparate treatment by raising those claims in his opposition to the Ambit
Group's motion to dismiss and other filings in district court. However, the district court
did not abuse its discretion in declining to consider those claims, because appellant's
opposition brief, which was filed outside the period in which he could have amended his
complaint as of right, did not clearly convey an attempt to add those additional claims to
his complaint. See Fed. R. Civ. P. 15(a); Richardson v. United States, 193 F.3d 545,
548-49 (D.C. Cir. 1999). In addition, notwithstanding the district court's explicit
instructions in its April 8, 2019 minute order as well as the court's local rules, appellant
did not thereafter file a motion for leave to amend the complaint or a proposed
amended complaint. See Rollins v. Wackenhut Servs., Inc., 703 F.3d 122, 130 (D.C.
Cir. 2012); see also Belizan v. Hershon, 434 F.3d 579, 582 (D.C. Cir. 2006) ("Rule
15(a) - even as liberally construed - applies only when the plaintiff actually has moved
for leave to amend the complaint; absent a motion, there is nothing to 'be freely
given."').

       Finally, appellant raises no argument with respect to the district court's decision
to dismiss his claims against the National Oceanic and Atmospheric Administration and
its administrator. See Totten, 380 F.3d at 497.




                                           Page 2
       Case 1:18-cv-02985-RDM Document 28-1 Filed 05/26/20 Page 3 of 3



                 �nit£h �tat£s Qiourt of J\pp£als
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT


No. 19-5283                                                September Term, 2019

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en bane. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Manuel J. Castro
                                                         Deputy Clerk




                                          Page 3
